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                                                                                 1     Sandford L. Frey (State Bar No. 117058)
                                                                                       Robyn B. Sokol (State Bar No. 159506)
                                                                                 2     LEECH TISHMAN FUSCALDO & LAMPL, INC.
                                                                                       1100 Glendon Avenue, 15th Floor
                                                                                 3     Los Angeles, California 90024
                                                                                 4     Telephone: (424) 738-4400; Facsimile: (424) 738-5080
                                                                                       E-mail: sfrey@leechtishman.com
                                                                                 5            rsokol@leechtishman.com

                                                                                 6     (Proposed) Attorneys for Tree Lane, LLC
                                                                                       Debtor and Debtor-in-Possession
                                                                                 7

                                                                                 8                                 UNITED STATES BANKRUPTCY COURT

                                                                                 9                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                                10                                          LOS ANGELES DIVISION
LEECH TISHMAN FUSCALDO & LAMPL, INC.




                                                                                11       In re                                              Case No.: 2:24-bk-13201-BB

                                                                                12                TREE LANE LLC,                            Chapter 11
                                       1100 GLENDON AVENUE, 15TH FLOOR
                                        LOS ANGELES, C ALIF OR N IA 9 0 0 2 4




                                                                                13
                                                                                                                                             NOTICE OF APPLICATION AND
                                                                                                  Debtor and Debtor-in-Possession.           APPLICATION OF DEBTOR AND
                                                ( 4 2 4 ) 7 3 8 - 4 4 0 0




                                                                                14
                                                                                                                                             DEBTOR IN POSSESSION TO RETAIN
                                                                                15                                                           AND EMPLOY TRAVERSE, LLC AS
                                                                                                                                             CHIEF RESTRUCTURING OFFICER
                                                                                16                                                           PURSUANT TO 11 U.S.C. §§ 327 AND 328
                                                                                                                                             EFFECTIVE AS OF APRIL 25, 2024;
                                                                                17
                                                                                                                                             DECLARATIONS OF ALBERT ALTRO
                                                                                18                                                           AND MOHAMED A. HADID IN
                                                                                                                                             SUPPORT THEREOF
                                                                                19
                                                                                                                                            DATE: May 29, 2024
                                                                                20                                                          TIME: 10:00 a.m.
                                                                                                                                            CTRM: 1539
                                                                                21
                                                                                                                                                  United States Bankruptcy Court
                                                                                22                                                                255 E. Temple Street
                                                                                                                                                  Los Angeles, CA 90012
                                                                                23

                                                                                24

                                                                                25     TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY JUDGE,

                                                                                26     THE UNITED STATES TRUSTEE, AND ALL OTHER PARTIES IN INTEREST:

                                                                                27               PLEASE TAKE NOTICE that pursuant to sections 327 and 328 of title 11 of the United

                                                                                28     States Code (the “Bankruptcy Code”), Rule 2014 of the Federal Rules of Bankruptcy Procedure


                                                                                                                                        1
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                                                                                 1     (“FRBP”), and Local Bankruptcy Rule (“LBR”) 2014-1, Tree Lane LLC (“Tree Lane” or the

                                                                                 2     “Debtor”), the debtor and debtor in possession in the above-captioned bankruptcy case (the “Case”),

                                                                                 3     hereby provides notice of its application for an order authorizing the Debtor to employ Traverse, LLC

                                                                                 4     (“Traverse”) as its Chief Restructuring Officer (“CRO”). This Application is based upon the facts set

                                                                                 5     for the herein, the attached Declaration of Albert Altro (“Altro Declaration”) and Mohamad A. Hadid

                                                                                 6     (“Hadid Declaration”), the records in the Case, and any other evidence that may be presented to the

                                                                                 7     Court.

                                                                                 8               PLEASE TAKE FURTHER NOTICE that the Debtor seeks authorization to employ

                                                                                 9     Traverse as CRO pursuant to section 327(a) of the Bankruptcy Code. Traverse seeks approval of the

                                                                                10     terms and conditions of its employment pursuant to section 328 of the Bankruptcy Code and will apply
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                                                                                11     for the payment of its fees and reimbursement of its expenses in accordance with 330 and 331 of the

                                                                                12     Bankruptcy Code, FRBP 2016 and LBR 2016-1.
                                       1100 GLENDON AVENUE, 15TH FLOOR
                                        LOS ANGELES, C ALIF OR N IA 9 0 0 2 4




                                                                                13               PLEASE TAKE FURTHER NOTICE that this hearing is being set on regular notice
                                                ( 4 2 4 ) 7 3 8 - 4 4 0 0




                                                                                14     pursuant to LBR 9013-1. Any party wishing to oppose this Application must file and serve a written

                                                                                15     opposition upon the Debtor and Debtor’s counsel at the address set forth above no later than fourteen

                                                                                16     (14) days prior to May 29, 2024. If you fail to comply with this deadline, the Court may treat such

                                                                                17     failure as a waiver of your right to oppose the Application and may grant the Application. If you do

                                                                                18     not have any objection to this Application, you need not take further action.

                                                                                19

                                                                                20     Dated: May 8, 2024                           LEECH TISHMAN FUSCALDO & LAMPL, INC.

                                                                                21
                                                                                                                                    By: /s/ Robyn B. Sokol    _____________
                                                                                22                                                  Robyn B. Sokol
                                                                                                                                    Proposed Bankruptcy Counsel for Debtor
                                                                                23                                                  and Debtor In Possession
                                                                                24

                                                                                25

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                                                                                 1                                                         I.

                                                                                 2                                           GENERAL BACKGROUND

                                                                                 3               On April 25, 2024 (“Petition Date”), Debtor commenced its Case under chapter 11 of the

                                                                                 4     Bankruptcy Code in the Bankruptcy Court for the Central District of California (the “Court” or

                                                                                 5     “Bankruptcy Court”). In accordance with sections 1107(a) and 1108 of the Bankruptcy Code,

                                                                                 6     Debtor is now operating its business and managing its financial affairs as a debtor and debtor in

                                                                                 7     possession. No committee of unsecured creditors has been appointed at the time of filing this Motion.

                                                                                 8               The Debtor’s primary asset is approximately four (4) acres of a developable real property

                                                                                 9     located at 2451 Summitridge Drive, Beverly Hills, California 90210 (the “Property”), and the

                                                                                10     development plans and permits for the development of the Property. The Debtor acquired the Property
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                                                                                11     over a decade ago intending to develop it into luxurious residential housing. The Debtor’s

                                                                                12     development plan and permits for the Property provide for a one-of-a-kind luxurious, state-of-the-art
                                       1100 GLENDON AVENUE, 15TH FLOOR
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                                                                                13     single-family residential home with approximately 30,000 square feet of living space, a private pool
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                                                                                14     and spa, a home theater, and an eight (8) car garage with a car lift (the “Project”).

                                                                                15               The Debtor filed for Bankruptcy protection so that it could obtain Debtor in Possession

                                                                                16     Financing for the purpose of remedying an immediate threat to the public health and safety created on

                                                                                17     the portion of the property which Skylark fraudulently conveyed to itself, then finishing the Project

                                                                                18     and selling the completed luxury home for the benefit of all creditors and stakeholders. To that end,

                                                                                19     the City of Los Angeles (“City”) has ordered the Debtor to immediately address safety issues on the

                                                                                20     Property which requires recompacting, minor demolition, and grading.

                                                                                21               This Case was necessitated by a series of events that prevented the Debtor from completing

                                                                                22     this massive construction project. The breaches of the loan agreement with Skylark Capital

                                                                                23     Management, LLC (“Skylark”) and the bad faith actions of Skylark and its principal, which include

                                                                                24     fraudulent conveyances of real property of the Debtor and the unlawful withholding of funds by

                                                                                25     Skylark, forced the Debtor to file this Case. Through this Case the Debtor seeks to obtain debtor-in-

                                                                                26     possession financing (“DIP Financing”) to monetize its assets for the benefit of the Debtor’s estate

                                                                                27     (“Estate”) and all stakeholders, address the immediate safety concerns of the City with respect to the

                                                                                28     Property, and adjudicate or resolve various causes of action against the Debtor’s largest secured


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                                                                                 1     creditor, Skylark and its assignee Skylark (UK) Servicing, LLC (“Skylark UK,” and jointly “Skylark

                                                                                 2     Parties”).1 Despite attempts to reach a consensual resolution of issues with the Skylark Parties, they

                                                                                 3     sought to appoint a receiver over the Debtor and the primary assets of its Estate ࡳ the Property and

                                                                                 4     Project. There currently exists significant pending litigation between the Debtor and the Skylark

                                                                                 5     Parties in State Court.

                                                                                 6               Negotiations with potential lenders are ongoing and the Debtor intends to seek Court approval

                                                                                 7     of DIP Financing very soon. Additionally, the Debtor through its CRO has been meeting with the City

                                                                                 8     of Los Angeles and contractors to address the immediate needs of the Property as soon as funding has

                                                                                 9     been approved by the Court.

                                                                                10               The proposed CRO is necessary to oversee and manage the Project which is partially built.
LEECH TISHMAN FUSCALDO & LAMPL, INC.




                                                                                11     There is a super structure on the Property and erosion issues regarding this super structure and the

                                                                                12     Property need to be addressed. This will require the CRO to be on sight at the Property to manage the
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                                        LOS ANGELES, C ALIF OR N IA 9 0 0 2 4




                                                                                13     Project.
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                                                                                14                                                          II.

                                                                                15                                          JURISDICTION AND VENUE

                                                                                16               The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This Application

                                                                                17     constitutes a core proceeding pursuant to 28 U.S.C. § 157(b). Moreover, venue is proper in this

                                                                                18     District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                                                19                                                         III.

                                                                                20                                                      NOTICE

                                                                                21               Debtor has provided notice of this Application to (a) the United States Trustee; (b) counsel to

                                                                                22     secured creditor Skylark UK, (c) all secured creditors and lienholders; (d) all creditors of the Debtor;

                                                                                23     and (e) any party that has requested notice pursuant to FRBP 2002.

                                                                                24     ///

                                                                                25     ///

                                                                                26

                                                                                27
                                                                                                 1
                                                                                               Skylark UK is the assignee of the loan in the principal amount of up to $31,300,000 made by
                                                                                28     Skylark to the Debtor pursuant to an Assignment Agreement dated as of October 23, 2023 and the
                                                                                       Assignment of Construction Deed of Trust acknowledged as of October 24, 2023.
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                                                                                 1                                                         IV.

                                                                                 2                                              RELIEF REQUESTED

                                                                                 3               By this Application, Debtor respectfully requests the Court enter an order authorizing Debtor

                                                                                 4     to employ and retain Traverse and designate Albert Altro as its CRO to oversee and manage the

                                                                                 5     Project, and work with the Debtor’s anticipated Independent Manager2 to develop and implement

                                                                                 6     Debtor’s restructuring plan in order to minimize the costs to Debtor’s estate and maximize the value of

                                                                                 7     the estate for the benefit of all stakeholders pursuant to Bankruptcy Code §327(a) effective as of the

                                                                                 8     Petition Date.

                                                                                 9                                                         V.

                                                                                10                                       TRAVERSE’S QUALIFICATIONS
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                                                                                11               Traverse is an advisory firm specializing in providing restructuring, interim management,

                                                                                12     financial and accounting services to assist challenged organizations in a financial and operational
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                                                                                13     capacity. Traverse has a wealth of experience in, and enjoys an excellent reputation for, services it has
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                                                                                14     rendered in complex chapter 11 cases on behalf of debtors and creditors.3 Mr. Altro has over 30 years

                                                                                15     of experience in corporate restructuring, public accounting, executive management, and consulting,

                                                                                16     primarily in a leadership role. Debtor believes that Traverse will provide it with financial advisory

                                                                                17     services in a cost-effective, efficient, and timely manner that will maximize the value of the Debtor’s

                                                                                18     estate. Furthermore, Debtor believes Mr. Altro has the requisite experience and skill set to be

                                                                                19     designated as the CRO in this case. Debtor anticipates that Mr. Altro along with several other

                                                                                20     financial and accounting personnel employed at Traverse will be primarily performing tasks on behalf

                                                                                21

                                                                                22               2
                                                                                                A motion to authorize the Debtor to enter into an Independent Manager Agreement is being
                                                                                23     filed simultaneously herewith. The Independent Manager’s responsibilities will not overlap with those
                                                                                       of the CRO.
                                                                                24               3
                                                                                                Traverse has provided services to debtors in several bankruptcy cases, including: (i) In re
                                                                                       American Laser Skincare, LLC, Case No. 14-12685 (Bankr. D. Del. 2014); (ii) In re Peekay
                                                                                25     Acquisition, LLC, Case No. 17-11722 (Bankr. D. Del. 2017); (iii) In re Paramount Building Sols.,
                                                                                       LLC, Case No. 17-10867, (Bankr. D. Ariz. 2017); (iv) In re Food for Health, Case No. 18-23404
                                                                                26     (Bankr. Utah 2018); (v) In re Bumble Bee Foods Case No 19-12502 (Bankr. D. Del. 2019); (vi) In re
                                                                                       Jab Energy Solutions Case No. 21-11226 (CTG) (Bankr. D. Del. 2021); (vii) In re BH Cosmetics Case
                                                                                27     No 22-10050 (Bankr. D. Del. 2022). Traverse has provided services to creditors, including; In re Elief,
                                                                                       Case No.: 8:19-bk-13858 ES (Bankr. C.D. California 2019). Mr. Altro is the appointed Examiner In re
                                                                                28     John Coleman Case No. 21-11833-SDM (Bankr. N.D. Miss. 2021).

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                                                                                 1     of Debtor. A detailed description of Traverse as well as the Mr. Altro’s and the other financial and

                                                                                 2     accounting personnel are attached as Exhibit “A” to the Altro Declaration and are incorporated herein

                                                                                 3     by this reference.

                                                                                 4               Additionally, Traverse is familiar with Debtor’s business model and what it intends to achieve

                                                                                 5     through this reorganization. As set for in the Altro Declaration, prior to the Petition Date, on February

                                                                                 6     16, 2024, Debtor executed an engagement agreement with Traverse that sets forth the conditions of

                                                                                 7     Traverse’s employment in connection with the preparation and filing of this Case (the “Engagement

                                                                                 8     Letter”). A true and correct copy of the Engagement Letter is attached as Exhibit “B” to the Altro

                                                                                 9     Declaration and is incorporated herein by this reference. As a result of the pre-petition engagement,

                                                                                10     Traverse quickly built up a high level of trust and confidence with the Debtor’s pre-petition
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                                                                                11     management that continues into this Case. Traverse transferred all of Debtor’s accounting records to

                                                                                12     Traverse’s accounting system to assist with prepetition services it provided to the Debtor. Traverse
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                                                                                13     has worked closely with the Debtor, Debtor’s proposed independent manager, proposed general
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                                                                                14     bankruptcy counsel and other advisors during the pre-petition period and will continue to do so as the

                                                                                15     Case proceeds. Accordingly, Debtor believes that Traverse is exceedingly familiar with the Debtor’s

                                                                                16     operations, is well qualified and has the requisite knowledge and experience to effectively serve as

                                                                                17     Debtor’s CRO.

                                                                                18                                                             VI.

                                                                                19                                               SCOPE OF EMPLOYMENT

                                                                                20               Generally, Traverse will support the Debtor’s Case and the formulation of its plan of

                                                                                21     reorganization, including working to immediately obtain necessary debtor-in-possession financing in

                                                                                22     order to finish construction at the Project and to sell Debtor’s primary asset at Summitridge. Traverse

                                                                                23     will provide leadership and management in the capacity of CRO to Debtor as directed by the Debtor’s

                                                                                24     independent manager. Some of the tasks that Traverse will provide Debtor include but are not limited

                                                                                25     to:

                                                                                26               a)          Manage Debtor’s business as debtor-in-possession, including making decisions related
                                                                                                             to Debtor’s authority, duties and responsibilities as debtor-in-possession;
                                                                                27
                                                                                                 b)          Retain, remove, and set or adjust compensation for all officers and other employees of
                                                                                28                           Debtor, if any;


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                                                                                 1               c)          Negotiate with and verify the financial capacity of all potential purchasers of any
                                                                                                             Debtor’s assets;
                                                                                 2
                                                                                                 d)          Represent Debtor in dealings and negotiations with creditors;
                                                                                 3
                                                                                                 e)          Review Debtor’s books and records and conduct any investigation necessary to assert
                                                                                 4                           claims of Debtor under the Bankruptcy Code;

                                                                                 5               f)          Supervise the general contractor and related personnel with respect to the Project;

                                                                                 6               g)          With the assistance of Debtor’s bankruptcy counsel, pursue any action that Debtor can
                                                                                                             pursue under the Bankruptcy Code or otherwise and, with the assistance of Debtor’s
                                                                                 7                           bankruptcy counsel, defend any action against Debtor in the Bankruptcy Court
                                                                                                             or otherwise;
                                                                                 8
                                                                                                 h)          With the assistance of Debtor’s bankruptcy counsel, formulate and direct the filing of a
                                                                                 9                           chapter 11 plan of reorganization and disclosure statement;
                                                                                10               i)          Oversee and monitor Debtor’s assets and post-petition liabilities;
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                                                                                11               j)          With the assistance of Debtor’s bankruptcy counsel, procure post-petition financing to
                                                                                                             allow Debtor to complete construction of the Project; and,
                                                                                12
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                                        LOS ANGELES, C ALIF OR N IA 9 0 0 2 4




                                                                                                 k)          Ensure Debtor complies with its obligations as a debtor-in-possession.
                                                                                13
                                                                                                 These services are necessary to enable the Debtor to continue to operate its business during the
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                                                                                14
                                                                                       pendency of this chapter 11 Case and maximize the value of the estate for the benefit of the Debtor’s
                                                                                15
                                                                                       stakeholders.
                                                                                16
                                                                                                                                                VII.
                                                                                17
                                                                                                                        COMPENSATION AND INDEMNIFICATION
                                                                                18
                                                                                                 As set forth in the Engagement Letter, Debtor has agreed to, among other things: (a)
                                                                                19
                                                                                       compensate and reimburse Traverse for services provided and expenses incurred, and (b) indemnify
                                                                                20
                                                                                       Traverse and its personnel in accordance with the terms of the Engagement Letter. Debtor will
                                                                                21
                                                                                       compensate Traverse monthly in the amount of $25,000 for Mr. Altro’s employment as CRO. In
                                                                                22
                                                                                       addition, Traverse will charge its standard hourly rates for any additional employees assigned to assist
                                                                                23
                                                                                       with respect to this engagement on an hourly basis, plus reimbursement of actual, necessary expenses
                                                                                24
                                                                                       and other charges. The current hourly rates of professionals of Traverse providing services range in
                                                                                25
                                                                                       the amount of $275–$425. Beyond the rates listed above, Debtor shall reimburse Traverse for its
                                                                                26
                                                                                       reasonable out-of-pocket documented expenses incurred in connection with the services provided,
                                                                                27
                                                                                       such as travel, lodging, duplicating, research, and telephone charges. The fee structure set forth in the
                                                                                28
                                                                                       Engagement Letter is consistent with and typical of compensation arrangements entered into by
                                                                                                                                                 7
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                                                                                 1     Traverse and other comparable firms that render similar services under similar circumstances. Debtor

                                                                                 2     believes that the fee structure is reasonable, market-based, and designed to compensate Traverse fairly

                                                                                 3     for the work of the CRO.

                                                                                 4               When Traverse was first employed by Debtor to provide services in connection with a possible

                                                                                 5     restructuring of Debtor’s business, Traverse received a prepetition retainer from Debtor in the

                                                                                 6     aggregate amount of $20,000.00. This retainer was applied to pre-petition work and has been

                                                                                 7     exhausted. On the Petition Date, Traverse was not owed any money by the Debtor.

                                                                                 8               Traverse will look to the anticipated DIP Financing to cover its fees and expenses incurred in

                                                                                 9     accordance with the United States Trustee Guidelines. Traverse will prepare and serve monthly

                                                                                10     professional fee statements, in accordance with all applicable rules and United States Trustee Notices
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                                                                                11     and Guides, and upon expiration of the applicable notice period without objection, draw down on the

                                                                                12     fee reserve established by the DIP Financing to cover the fees and costs. Further, Traverse will seek
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                                                                                13     interim compensation during the administration of the Case, and final compensation at the conclusion
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                                                                                14     of the Case, as permitted by sections 330 and 331 of the Bankruptcy Code, FRBP 2016 and LBR

                                                                                15     2016-1. Traverse understands that its compensation in the case is subject to the prior approval of the

                                                                                16     Court, after notice and a hearing, in accordance with sections 330 and 331 of the Bankruptcy Code,

                                                                                17     FRBP Rule 2016, Local Bankruptcy Rule 2016-1 and the United States Trustee Guidelines.

                                                                                18               Pursuant to the Engagement Letter, as a material part of the consideration for which Traverse

                                                                                19     has agreed to provide the services to Debtor, Debtor agreed to indemnify and hold harmless Traverse

                                                                                20     and those in the employ of Traverse, (collectively, the “Indemnified Parties”) as set forth in the terms

                                                                                21     of the Engagement Letter. Such indemnification will not include any losses, claims damages,

                                                                                22     liabilities or expenses to the extent they are caused by the Indemnified Parties’ willful misconduct or

                                                                                23     gross negligence.

                                                                                24                                                         VII.

                                                                                25                                             DISINTERESTEDNESS

                                                                                26               To the best of the Debtor’s knowledge, and other than serving as prepetition CRO as set forth

                                                                                27     in the Altro Declaration, the partners of and associates of Traverse do not have any connection with or

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                                                                                 1     any interest adverse to Debtor, its creditors, or any other party in interest, or their respective attorneys

                                                                                 2     and accountants.

                                                                                 3               Based upon the Altro Declaration, Debtor submits that Traverse is a “disinterested person” as

                                                                                 4     that term is defined in section 101(14) of the Bankruptcy Code, as modified by section 1107(b) of the

                                                                                 5     Bankruptcy Code. Specifically:

                                                                                 6                           (a) Traverse is not and was not a creditor, an equity security holder or an insider
                                                                                                             of Debtor;
                                                                                 7
                                                                                                             (b) Traverse is not and was not an investment banker for any outstanding security
                                                                                 8                           of Debtor;

                                                                                 9                           (c) Traverse is not and was not, within three (3) years before the date of the filing
                                                                                                             of the petition herein, an investment banker for a security of Debtor, or an
                                                                                10                           attorney for such an investment banker in connection with the offer, sale or issuance
                                                                                                             of any security of Debtor;
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                                                                                11
                                                                                                             (d) Traverse is not and was not, within two (2) years before the date of the filing
                                                                                12                           of the petition herein, a director, officer or employee of Debtor or of any
                                       1100 GLENDON AVENUE, 15TH FLOOR




                                                                                                             investment banker for any security of Debtor;
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                                                                                13
                                                                                                             (e) Subject to the disclosures contained herein, Traverse neither has nor represents
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                                                                                14                           any interest materially adverse to the interests of the estate or of any class of
                                                                                                             creditors or equity security holders, by reason of any direct or indirect relationship
                                                                                15                           to, connection with, or interest in, Debtor or an investment banker for any
                                                                                                             security of Debtor, or for any other reason; and
                                                                                16
                                                                                                             (f) No member of Traverse is a relative or employee of the United States Trustee for the
                                                                                17                           Central District of California or a bankruptcy judge.

                                                                                18               Traverse will conduct an ongoing review of its files to ensure that no disqualifying
                                                                                19     circumstances arise. If any new relevant facts or relationships are discovered, Traverse will
                                                                                20     supplement its disclosure to the Court.
                                                                                21                                                              VIII.
                                                                                22                                                        CONCLUSION
                                                                                23               WHEREFORE, Debtor requests that the Court enter an order approving the employment of
                                                                                24     Traverse as bankruptcy counsel pursuant to section 327(a) of the Bankruptcy Code, effective as of the
                                                                                25     Petition Date, to render services as described herein, with the terms of compensation contained in the
                                                                                26     ///
                                                                                27     ///
                                                                                28

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                                                                                 1     Engagement Letter approved pursuant to section 328 of the Bankruptcy Code, and to be paid in

                                                                                 2     accordance with sections 330 and 331 of the Bankruptcy Code as an expense of administration.

                                                                                 3

                                                                                 4
                                                                                                                                     6LJQDWXUHWRIROORZ
                                                                                 5     Dated: May 8, 2024
                                                                                                                                  Mohamed A. Hadid
                                                                                 6                                                Sole Member and Manager of Summitridge
                                                                                                                                  Development II LLC, the sole member of the
                                                                                 7                                                Debtor

                                                                                 8

                                                                                 9
                                                                                       Presented by:
                                                                                10     Leech Tishman
LEECH TISHMAN FUSCALDO & LAMPL, INC.




                                                                                11
                                                                                       By: /s/ Robyn B. Sokol
                                                                                12            Robyn B. Sokol
                                       1100 GLENDON AVENUE, 15TH FLOOR
                                        LOS ANGELES, C ALIF OR N IA 9 0 0 2 4




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                                                                                 1                                          DECLARATION OF ALBERT ALTRO

                                                                                 2               I, Albert Altro, hereby declare as follows:

                                                                                 3               1.          I am the Chief Restructuring Officer (“CRO”) of Tree Lane, LLC, the Debtor and

                                                                                 4     Debtor in possession of the above captioned case (“Debtor”). I am also a Managing Director at

                                                                                 5     Traverse, LLC, a limited liability company that has served as a restructuring advisor to the Debtor

                                                                                 6     since February 16, 2024. I have over thirty (30) years of experience in corporate restructuring, public

                                                                                 7     accounting and executive management, and consulting spanning a variety of industries and

                                                                                 8     organizations. In my capacity as CRO, I have overseen the preparations for the Debtor’s chapter 11

                                                                                 9     filing and been involved in responding to diligence requests and negotiating with the Debtor’s key

                                                                                10     constituencies. In this capacity, I have become familiar with the Debtors’ business, past operations,
LEECH TISHMAN FUSCALDO & LAMPL, INC.




                                                                                11     and financial affairs.

                                                                                12               2.          On April 25, 2024 (the “Petition Date”), the Debtor filed a voluntary petition for relief
                                       1100 GLENDON AVENUE, 15TH FLOOR
                                        LOS ANGELES, C ALIF OR N IA 9 0 0 2 4




                                                                                13     under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (as amended or
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                                                                                14     modified, the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of Central

                                                                                15     California (the “Bankruptcy Court”) initiating the above-captioned chapter 11 case (the “Chapter 11

                                                                                16     Case”). The Debtor continues to operate its business and manage its property as a debtor in

                                                                                17     possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

                                                                                18               3.          The Debtor is a limited liability company, organized and existing under the laws of the

                                                                                19     State of California, in the business of luxury residential real estate development. The Debtor’s sole

                                                                                20     member is Summitridge Development II, LLC (“Summitridge”), and Mohamed Hadid (“Mr.

                                                                                21     Hadid”) is the sole member and manager of Summitridge. The Estate’s primary asset is

                                                                                22     approximately four (4) acres of a developable real property located at 2451 Summitridge Drive,

                                                                                23     Beverly Hills, California 90210 (the “Property”), and the development plans and permits for the

                                                                                24     development of the Property.

                                                                                25               4.          Traverse is an advisory firm specializing in providing restructuring, interim

                                                                                26     management, financial and accounting services to assist challenged organizations in a financial and

                                                                                27     operational capacity. Traverse has a wealth of experience in and enjoys an excellent reputation for

                                                                                28     services it has rendered in complex chapter 11 cases on behalf of debtors and creditors.


                                                                                                                                                11
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                                                                                 1               5.          I have over 30 years of experience in corporate restructuring, public accounting and

                                                                                 2     executive management, and consulting, primarily in a leadership role. My resume as well as those of

                                                                                 3     other financial and accounting personnel resumes are attached as Exhibit “A.”

                                                                                 4               6.          Traverse has provided services to debtors in several bankruptcy cases, including: (i) In

                                                                                 5     re American Laser Skincare, LLC, Case No. 14-12685 (Bankr. D. Del. 2014); (ii) In re Peekay

                                                                                 6     Acquisition, LLC, Case No. 17-11722 (Bankr. D. Del. 2017); (iii) In re Paramount Building Sols.,

                                                                                 7     LLC, Case No. 17-10867, (Bankr. D. Ariz. 2017); (iv) In re Food for Health, Case No. 18-23404

                                                                                 8     (Bankr. Utah 2018); (v) In re Bumble Bee Foods Case No 19-12502 (Bankr. D. Del. 2019); (vi) In re

                                                                                 9     Jab Energy Solutions Case No. 21-11226 (CTG) (Bankr. D. Del. 2021); (vii) In re BH Cosmetics Case

                                                                                10     No 22-10050 (Bankr. D. Del. 2022). Traverse has provided services to creditors, including; In re Elief,
LEECH TISHMAN FUSCALDO & LAMPL, INC.




                                                                                11     Case No.: 8:19-bk-13858 ES (Bankr. C.D. California 2019).

                                                                                12               7.          I am appointed as an examiner In re John Coleman Case No. 21-11833-SDM (Bankr.
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                                                                                13     N.D. Miss. 2021).
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                                                                                14               8.          On February 16, 2024, Debtor executed an engagement agreement with Traverse that

                                                                                15     sets forth the conditions of Traverse’s employment in connection with the preparation and filing of

                                                                                16     this Case (the “Engagement Letter”). A true and correct copy of the Engagement Letter is attached

                                                                                17     hereto as Exhibit “B.”

                                                                                18               9.          As a result of the engagement, Traverse quickly built up a high level of trust and

                                                                                19     confidence with the Debtor’s pre-petition management that continues into this Case. Traverse

                                                                                20     transferred all of Debtor’s accounting records to Traverse’s accounting system to assist with

                                                                                21     prepetition services it provided to the Debtor. Traverse has worked closely with the Debtor, Debtor’s

                                                                                22     proposed independent manager, proposed general bankruptcy counsel and other advisors during the

                                                                                23     pre-petition period and will continue to do so as the Case proceeds. Accordingly, Debtor believes that

                                                                                24     Traverse is familiar with the Debtor’s operations, is exceedingly well qualified and has the requisite

                                                                                25     knowledge and experience to effectively serve as Debtor’s CRO.

                                                                                26               10.         Traverse is a “disinterested person” as that term is defined in section 101(14) of the

                                                                                27     Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy Code.

                                                                                28               11.         Specifically:

                                                                                                             (a) Traverse is not and was not a creditor, an equity security holder or an insider
                                                                                                                                                 12
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                                                                                 1                           of Debtor;

                                                                                 2                           (b) Traverse is not and was not an investment banker for any outstanding security
                                                                                                             of Debtor;
                                                                                 3
                                                                                                             (c) Traverse is not and was not, within three (3) years before the date of the filing
                                                                                 4                           of the petition herein, an investment banker for a security of Debtor, or an
                                                                                                             attorney for such an investment banker in connection with the offer, sale or issuance
                                                                                 5                           of any security of Debtor;

                                                                                 6                           (d) Traverse is not and was not, within two (2) years before the date of the filing
                                                                                                             of the petition herein, a director, officer or employee of Debtor or of any
                                                                                 7                           investment banker for any security of Debtor;

                                                                                 8                           (e) Subject to the disclosures contained herein, Traverse neither has nor represents
                                                                                                             any interest materially adverse to the interests of the estate or of any class of
                                                                                 9                           creditors or equity security holders, by reason of any direct or indirect relationship
                                                                                                             to, connection with, or interest in, Debtor or an investment banker for any
                                                                                10                           security of Debtor, or for any other reason; and
LEECH TISHMAN FUSCALDO & LAMPL, INC.




                                                                                11                           (f) No member of Traverse is a relative or employee of the United States Trustee for the
                                                                                                             Central District of California or a bankruptcy judge.
                                                                                12
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                                        LOS ANGELES, C ALIF OR N IA 9 0 0 2 4




                                                                                13               12.          Traverse will conduct an ongoing review of its files to ensure that no disqualifying
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                                                                                14     circumstances arise. If any new relevant facts or relationships are discovered, Traverse will

                                                                                15     supplement its disclosure to the Court.

                                                                                16               13.         As of the Petition Date, Traverse was not owed any money for services provided. As of

                                                                                17     the Petition Date, Traverse had exhausted the pre-petition retainer of $20,000 that it had received from

                                                                                18     the Debtor.

                                                                                19               I declare under the penalty of perjury under the laws of the United States of America that the

                                                                                20     foregoing is true and correct and executed this 8th day of May, 2024 in __________, California.

                                                                                21

                                                                                22                                                                               6LJQDWXUHWRIROORZ
                                                                                                                                                           By: __________________________
                                                                                                                                                           Albert Altro
                                                                                23                                                                         Chief Restructuring Officer
                                                                                24                                                                         Tree Lane LLC

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                                                                                 1                                      DECLARATION OF MOHAMED A. HADID

                                                                                 2               I, Mohamid A. Hadid, declare as follows:

                                                                                 3               1.          I submit this declaration in support of the Application of Debtor and Debtor-in-

                                                                                 4     Possession Pursuant to Bankruptcy Code §§ 327(a), 330 and 1107; and FRBP 2014 for an Order

                                                                                 5     Authorizing the Employment of Leech Tishman Fuscaldo & Lampl, Inc. as Chapter 11 Counsel. I am

                                                                                 6     an individual over the age of eighteen, and I have personal knowledge of the facts set forth below and,

                                                                                 7     if called to testify, would and could competently testify thereto.

                                                                                 8               2.          I am the managing member and sole member of Summitridge Development II LLC, the

                                                                                 9     managing member of Tree Lane, LLC, California limited liability company, the Debtor and Debtor in

                                                                                10     Possession (“Debtor”). The Debtor commenced this case by filing a voluntary Chapter 11 petition on
LEECH TISHMAN FUSCALDO & LAMPL, INC.




                                                                                11     April 25, 2024.

                                                                                12               4.          By the foregoing Application, the Debtor seeks Court approval of the retention of
                                       1100 GLENDON AVENUE, 15TH FLOOR
                                        LOS ANGELES, C ALIF OR N IA 9 0 0 2 4




                                                                                13     Traverse as the Chief Restructuring Officer for the Debtor.
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                                                                                14               5.          To the best of my knowledge and belief, Traverse represents no interest adverse to the

                                                                                15     Debtor or its estate and is a disinterested person as that term is defined in the Bankruptcy Code.

                                                                                16               6.          I believe that the employment of Travers as Chief Restructuring Officer for the Debtor

                                                                                17     is in the best interest of the Chapter 11 estate.

                                                                                18               I declare under penalty of perjury under the laws of the United States of America that the

                                                                                19     foregoing is true and correct, and that this declaration was executed on May 8, 2024 at Los Angeles,

                                                                                20     California.

                                                                                21
                                                                                                                                            6LJQDWXUHWRIROORZ
                                                                                22                                                         _________________________________
                                                                                                                                           Mohamed A. Hadid
                                                                                23                                                         Sole Member and Manager of Summitridge
                                                                                                                                           Development II LLC, the sole member of the
                                                                                24                                                         Debtor
                                                                                25

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                        ExhibitA
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  Corporate Restructuring; Creditor Advisory; Interim Management; Transaction Support




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ABOUT US


Our History:                                                           OUR EXPERTISE

Traverse LLC was formed in 2005. The goal was to form
a company that would provide the highest quality advice,               • Restructuring & Turnaround
                                                                              - Operational
executable solutions, personalized service and support to                     - Financial
middle market clients in order to help them achieve their                     - Chapter 11
goals. Now in its 18th year, Traverse continues to provide
                                                                              - Forensic Accounting
                                                                              - Wind Down
Management Services (principally Financial Advisory,                          - Liquidation
Restructuring & Interim Management) and Transaction
                                                                       • Interim Management
Support (principally financial due diligence and quality of                    - CRO
earnings) to the middle market. Albert Altro leads the                         - CFO
                                                                               - Assignee (ABC)
Firm as Founder after working in public accounting and                         - Financial Advisor
the restructuring industry.                                                    - Independent Board Member
                                                                       • Creditor Advisory
Our Process:                                                                   - Assessment
Traverse’s turnkey Management Services’ process allows                         - Receivership
                                                                               - Creditor Committees
us to quickly assess our client’s needs and unique                             - Forensic Accounting
situations as well as assemble the optimal resources to
                                                                       • Transaction Services
address critical business issues. We deliver our services                     - Due Diligence
from personnel based in Los Angeles, Dallas, New York                         - Quality of Earnings
City, Nashville – Memphis.
                                                                              - Debt Capital Raising
                                                                              - Forensic Accounting




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                                                                        WHY CHOOSE US
Traverse is a consulting firm dedicated to providing
                                                                        EXPERIENCE
corporate restructuring, interim management, creditor
                                                                        The team at Traverse has over 200
advisory and transactions support (“Quality of Earnings”).              years of combined experience. Our
                                                                        executives come from a “Big 4”
Our expert team has over 200 years of combined                          background & have extensive
experience, which allows us to provide the highest quality              experience in both public & private
                                                                        sector industries with core roots in the
advice, service and support to both performing and                      Middle Market.
underperforming organizations seeking to restructure
operations, buy or sell, overcome financial challenges, or              PROVEN RESULTS
                                                                        Traverse has a long history of
maximize performance.
                                                                        successfully providing corporate
                                                                        structuring solutions. Traverse
                                                                        transaction support teams are adept at
We help our clients lay the foundation for long term success            assessing a target company’s quality of
by providing expert guidance, personalized attention, and               earnings adding value to both buyers
                                                                        and sellers.
industry specific solutions. We offer clients the highest level
of expertise and professionalism traditionally expected from
                                                                        DIRECT IMPACT TO THE
                                                                        BOTTOM LINE
a Big Four consultancy without the overhead costs and                   Our experts and interim management
                                                                        executives define operational
resulting fees. Traverse is a disabled veteran owned
                                                                        improvements that yield cost
company.                                                                efficiencies, directly impacting a
                                                                        company’s earnings. We assess
                                                                        proforma related synergies yielding
                                                                        increased value.

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RESTRUCTURING SERVICES


Our Management Services team works with under
performing companies to address challenges and issues
affecting their business while identifying and building on
their strengths.


Traverse provides restructuring and turnaround services to
assist underperforming organizations in a financial and
operational capacity. Our turnaround team works with
clients to address the immediate liquidity issues affecting
their business. This allows the company to focus on their
strengths, day to day operations, and implementing growth
strategies.
                                                                       RELATED SERVICES
Traverse helps companies navigate through their business
both in court and out of court by ensuring that the needs of           • RESTRUCTURING SERVICES
all parties are met proactively and addressing critical issues
and challenges in a timely manner. Our goal is to provide              • RESTRUCTURING ACTIVITIES
companies with a fresh start, a platform from which to grow.

                                                                       • TURNAROUND SERVICES




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RESTRUCTURING SERVICES


RELATED SERVICES

RESTRUCTURING                       RESTRUCTURING                             TURNAROUND
SERVICES                            ACTIVITIES                                SERVICES

• Corporate turnaround               • Manage cash and working                 • Administer crisis cash
                                      capital                                    management
 services

• Cross-border and                   • Evaluate viability of operation         • Perform interim management
                                                                                 responsibilities
 multinational restructurings        • Prepare liquidation analyses
• Financial advisory services                                                  • Identify issues affecting
 during the Chapter 11 process
                                     • Identify and analyze                      profitability
                                      assumptions, business plans
• Interim crisis management           and forecasts                            • Develop turnaround plan and
                                                                                 implementation
• Out-of-court workouts              • Assess feasibility of business
                                      plans                                    • Facilitate implementation of
                                                                                 solutions
• Preparation and                    • Analyze reorganization plans
 implementation of                    and alternatives
 restructuring plans

• Preparation for bankruptcy         • Assist in the development of
                                      exit strategies

                                     • Assist with debt restructuring
                                     • Negotiate with creditors
                                     • Assist in the preservation of
                                      tax attributes, NOLs,
                                      insolvency and bankruptcy
                                      issues and tax compliance




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  CHIEF RESTRUCTURING OFFICER – CHAPTER 11


  PROFESSIONAL EXPERIENCE
                               PEKAY BOUTIQUES INC.

                               Retailer focused on women's’ sexual health and wellness. Branded products sold
                               in 48 locations in 4 States including (California, Washington, Texas and
                               Tennessee.

                                • Appointed CRO and guided the Company through the Chapter 11 process and
                                  subsequent sale under section 363 of the bankruptcy code. Provided hands on
                                  leadership and direction to the Company’s accounting and treasury personnel
                                  assuming all CFO responsibilities.

                                • Assisted in all pre-bankruptcy requirements including cash collateral budget, first day
                                  orders, communications plan and reporting to the lenders.

                                • Provided all reporting to the United States Trustee, managed reporting to all
                                  constituents in case including senior secured lenders, Junior secured lenders and
                                  Unsecured Creditors Committee.

AMERICAN LASER SKINCARE

Provider of aesthetic skincare services, including laser hair removal, cellulite
reduction and other non-invasive surgical procedures; 147 clinics and annual revenue
of $165m (pre- filing). Digital marketing driven business model.

• Appointed CRO and guided the Company through the Chapter 11 process and
  subsequent sale under section 363 of the bankruptcy code. Provided hands on
  leadership and direction to the Company’s accounting, treasury and tax personnel.

• Interim Management assistance post filing, leading the (ongoing) restructuring and
  closure of non-performing clinics and retooling of capital assets including call center
  operations and digital marketing spend.




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  RESTRUCTURING – OUT OF COURT


  PROFESSIONAL EXPERIENCE
                              THE CORPORATE PRESENCE

                              Vertically integrated international supplier of desktop commemoratives for the
                              banking industry. Significant revenue impairment resulted in solvency, cash flow
                              issues and loan defaults.

                               • Retained to assess and recommend cost reduction plan, cash management and out-
                                 of-court restructuring.

                               • During agreed forbearance period, developed and successfully executed: out-of-court
                                 workout of debt restructuring, long term payment plans with unsecured creditors and
                                 tax authorities and operational cost reductions while ensuring business generated
                                 positive cash flow.

                               • Assumed role as a member of the Board of Directors


PARAMOUNT BUILDING SOLUTIONS
A Privately Equity owned middle market company based in Phoenix Arizona
with over 1,200 employees. Provider of floor care services principally to large
supermarket chains.

• Engaged to assess the Company’s operations including customer profitability,
  recoverability of accounts receivable, and management.
• Uncovered misrepresentations by senior management and developed
  restructuring and turn around plan.
• Engaged by owners to assume a role as member of the Board of Directors and
  execute the restructuring plan including the termination of senior management.
  Restructuring plan included entering chapter 11 to reject unprofitable contracts and
  certain withdrawal liability from multi employer pension plan.
• Turn-Around resulted in reversing annual loss of $5 million to first year positive
  earnings of $1.5 million.


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   RESTRUCTURING – COURT APPOINTED RECEIVER


   PROFESSIONAL EXPERIENCE
                            SMILE WIDE LLC

                            Regional provider of dental (general and pediatric) and orthodontic services in 23
                            locations and 25,000 patients in Southern California.

                             • Appointed Receiver and guided the Company through the Receivership process
                               stabilizing operations and minimizing cash burn.

                             • Interim Management assistance included the day to day operations optimizing cash flow
                               and streamlining operations, provided corrective action plan for contract compliance with
                               “payors”.

                             • Managed the marketing and sale of the operating assets of the entity resulting in recovery
                               in excess of 200% of independent third party valuation.




VERO BUSINESS CREDIT
¾ Vero headquartered in Memphis TN and is a specialty finance company factoring
  receivables and providing fuel advances to the trucking industry managing a $65
  million portfolio. Vero operates with a line of credit from first Tennessee bank and
  finances trucking companies all over the USA.

 • Retained by the predecessor company Enoble Business Credit to operate,
   restructure and assist in the sale of the Company.

 • Restructured into three separate business units including Good Co, Bad Co and
   Real Estate Business Unit. Allowed Lender to foreclose on real estate, assigned
   non-core non-transportation related accounts to lender (Bad Co) and sold
   transportation accounts to Vero (Good Co).

 • Appointed “Receiver” over the remaining entity (Bad Co) to recover assets and
   distribute proceeds to Senior Lender.




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INTERIM EXECUTIVE MANAGEMENT


We provide Executive interim management at different
points in a Company’s life cycle. We have effectively
worked to improve operations, maximize the enterprises’
opportunities, and manage risk by engaging at the right
place and the right time. We have worked in a CRO
capacity for distressed enterprises as well as CFO with
profitable businesses requiring additional horse power and
providing managerial optionality.


An Executive departure is difficult for an organization, and
can cause disruption beyond just the need to backfill the
position. Traverse’s team of experienced executives can
assist organizations through times of executive transition.
We often work in conjunction with senior management in
order to minimize the impact of the departure, by
maintaining operations, providing leadership through
existing business processes, and facilitating growth and
momentum as a company transitions.


Our executives understand that the role of an interim
executive is different from that of a permanent executive.
The person must address both operational issues and
issues related specifically to the transition period, while
integrating seamlessly into the organization. We work with
our clients to fill a variety of key positions (CRO, CFO,
COO), until the company is able to implement an executive
search, allowing them time to select the right candidate.
Tenure of our Interim Management executives varies by
each client’s needs, and often we can assist in finding the
right candidate and provide thought leadership and
executive coaching during the transition.
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   OUT OF COURT & ASSIGNMENT FOR THE BENEFIT OF CREDITORS


   PROFESSIONAL EXPERIENCE
                          RAJ SWIMWEAR
                          A national leader in the manufacture and distribution of swimwear through both
                          wholesale and retail channels. Manufacturing and distribution facilities located in Tustin,
                          California.

                                   • Traverse engaged by Management pursuant to a forbearance agreement with East
                                     West Bank.
                                   • Assessed operations and executed cost mitigation strategies.
                                   • Prepared 13 week cash flow
                                   • Marketed the Company for Sale
                                   • Planned the liquidation under and Assignment for the Benefit of Creditors
                                   • Negotiated settlements with vendors, customers and service providers
                                   • Negotiated settlement with senior lenders and Owners



Assignment for the Benefit of Creditors of Newsom Designs, LLC

Engaged as Assignee by a national leader in e-commerce sale of furniture. Corporate
Headquarters co-located in Dallas TX in 200,000 square foot distribution facility

          • Reorganized corporation in Delaware to support new friendly venue
          • Prepared Budget for Board of Directors
          • Marketed the IP for Sale
          • Negotiated settlements with vendors, customers and service providers
          • Negotiated settlement with Owners and Landlords
          • Recovery to unsecured creditors in excess of 80%.




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    OUT OF COURT RESTRUCTURING


    PROFESSIONAL EXPERIENCE
                                  TS3 TECHNOLOGIES INC.

                                  Manufacturer of printed circuit boards, box build and wire harnesses in the
                                  Defense, Aerospace, Utility and Oil and Gas Industry. Two manufacturing plants
                                  located in Nashville and Houston.

                                    • Conducted Operational and Financial Assessment and subsequently
                                     engaged to execute restructuring plan.
                                          ¾ Resulted in $5 million in estimated savings
                                                 – Rationalization of work-force
                                                 – Consolidation of Facilities
                                                 – Purged unprofitable accounts
                                                 – Renegotiated significant agreement with counter-parties
                                    • Subsequently conducted out of court wind down and dissolution.



CITY GEAR, INC.

Retail apparel chain of 120 stores based in Memphis TN in City Specialty
niche (Urban Apparel and Footwear). Significant suppliers and creditors
include Nike, Adidas, Levis, Pink Dolphin, Hustle Gang, New Era, Stance,
Huf, Brian Brothers, Converse, Lacoste, Timberland, New Balance, Puma
and CIT.

• Initially retained by mezzanine investors to perform acquisition due diligence of
  a sponsored leveraged buy out..
• Subsequently retained as CRO to assess and recommend cost reduction plan,
  cash management and execute an out-of-court amendment to the mezzanine
  debt agreement.
• Assumed role as member of the Board of Directors to drive financial due
  diligence in support of acquisition growth strategy increasing store count from
  38 to 120 stores over a two year period.


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    WIND DOWN & CHAPTER 7


    PROFESSIONAL EXPERIENCE
                                  ON-SITE FUEL SERVICE
                                  Based in Jackson MS., a regional leader and supplier of commercial mobile
                                  fueling and other fuel delivery services to a wide variety of blue-chip
                                  customers in numerous industries with $150 million in revenue.

                                   • Engaged by Board of Directors to wind down and dissolve Company.
                                   • Prepared expert opinion report for Chapter 7 trial.




AURORA MODULAR INDUSTRIES

Privately owned contract manufacturer of modular buildings with
manufacturing facilities in California with annual revenue of $100 million.

• Provided Trustee sport in the Chapter 7 filing resulted in Trustee
including the management of manufacturing to complete in process work.

•   Identified opportunities to sell plant and equipment.

•   Negotiated with lenders and counter parties (unsecured creditors).




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TRANSACTION & ACCOUNTING SUPPORT


Traverse professionals have proven results in identifying
quantitative deal issues while performing financial and
accounting due diligence (quality of earnings). Our forensic
accounting teams engage to assess purchase price
adjustments.


Our approach focuses inquiry and analysis on the quality of
the company’s earnings. Our scope typically requires we
execute a deep dive into the company’s operations and
financial position. We typically serve private equity buyers,
strategic sellers and lenders. Traverse offers
comprehensive due diligence advice and / or a customized
approach when evaluating potential investment                        RELATED SERVICES
opportunities. Our team of Transaction Advisory
professionals are able to lead and advise on all aspects of          • FINANCIAL DUE DILIGENCE
the investment cycle, whether a client is looking to acquire a           (QUALITY OF EARNINGS)
company, sell a business, or obtain additional capital.              • TAX DUE DILIGENCE
The Traverse Transaction Advisory team draws on their
                                                                     • FORENSIC ACCOUNTING
extensive experience in order to help clients across a
variety of industries gain a better understanding of the value
drivers of an opportunity and the associated risk factors.
Whether representing buyers, sellers, or lenders, Traverse
offers wide-ranging due diligence advice and hands-on
support when evaluating a transaction.


The Traverse team also engages with constituents in
investigative and other forensic accounting support services
including senior and junior creditors, Unsecured creditor
committees, Big 4 accounting firms and Private Equity
                                           Exhibit 1, Page 27
Investors.
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TRANSACTION ADVISORY SERVICES


RELATED SERVICES

FINANCIAL DUE                        TAX DUE DILIGENCE                       ADDITIONAL SERVICES
DILIGENCE

• Your Traverse consultant will       • Buy and Sell side tax due             • Sell-side due diligence (to
 develop in depth work plans            diligence support.                      include assistance and
 that are comprehensive;                                                        preparation of
 delivering insightful quality of     • Transaction structuring and             management’s adjustments
                                        related negotiation, both               to earnings) and vendor
 earnings analysis. This                domestic and cross-border,              assistance.
 process results in purchase            including high value strategies
 price points of negotiation and        such as IP migration.                 • Carve-out and stand-alone
 adjustment.                                                                    analysis.
                                      • Purchase/sale agreement
                                        negotiation assistance (e.g.,         • Investigative & Forensic
• Our team is skilled at                stock purchase agreements).             Accounting.
 preparing Quality of Earnings
 (EBITDA) analysis with each          • Tax efficient exit strategy           • Free cash flow reconciliations
 step supported by underlying           structuring.                            and cash proofs.
 analysis.
                                      • Post-transaction assistance,          • Four Wall Analysis
                                        including executing on deal
• We provide a detailed review          structure, tax remediation            • Quality of net assets,
 of the balance sheet, focusing         work and other post-                    completeness of liabilities.
 on reserves and accruals and           transaction tasks such as
 liabilities both on and off the
                                        make-whole computations,              • Analysis of financial forecasts.
                                        transaction cost analysis and
 balance sheet, as well as the          filing special tax elections.         • Purchase agreement support.
 quality of all assets.
                                                                              • Synergy identification.
• Traverse also analyze s the                                                 • Closing and opening balance
 Company’s accounting                                                           sheet compilations.
 policies to include
 appropriateness of revenue
 recognition, reserves, and
 cost recognition.
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TRANSACTION ADVISORY SERVICES – Sell Side Support


PROFESSIONAL EXPERIENCE
                             EASTPORT HOLDINGS

                             Sell Side due-diligence effort for national media & advertising platform:
                             Retained to prepare a sell side Quality of Earnings report to Support the
                             Company’s investment banker’s efforts.
                             •   Team evaluated historical full year earnings of partial year acquisitions

                             • Evaluated historical non recuring matters including bridge of FY 19
                             Earnings to FY 22 Earnings due to Covid 19.

                             • Prepared “net” add back to earnings totaling $10 million including certain
                             “pro forma” adjustments.

                             • Core EBITDA increased from $20 million to $30 million on Normalized “pro
                             forma” basis.



PORCH. COM –
A vertical software platform for the home.
Retained to support the Company SPAC investment

• Provided Interim Controller to support CFO efforts to comply with uplift
procedure in accordance with PCAOB requirements.

• Provided transaction advisory team to Review several historical acquisitions to
normalize earnings for SPAC & PIPE investors.

• Worked closely with Deloitte auditors in support of the “Public Company” audit
standards.

•    Worked with valuations team in support of third party work.




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TRANSACTION ADVISORY SERVICES


PROFESSIONAL EXPERIENCE
                           SHAMROCK CAPITAL ADVISORS

                           Due-diligence for equity investments in the high-tech, media & entertainment
                           verticals:

                            • Real D - A leading global licensor of stereoscopic 3D technologies.
                            • Mosaic Digital Studios - Motion picture post-production support, based in
                              Burbank, CA with subsidiaries in the UK, Germany and France.
                            • Thought Equity Motion - Online intellectual property management based in
                              Denver, CO.
                            • Media Storm - Multimedia advertising management based in Connecticut.
                            • In Grooves - Digital media distribution and marketing (iTunes aggregator) in San
                              Francisco, CA.
                            • Los Angeles Dodgers Baseball – Assisted in the acquisition due diligence.
                            • IMG - Business carve out and joint venture of the Ticket Sales division.
                            • Aston Villa Football Club – Assisted in the acquisition due diligence

CLARITAS CAPITAL

Due diligence advice across a broad base of industries:

• Empyrean Benefit Services - On-line benefit provider (Broker) based in Houston, TX.
   - Scope of initial diligence engagement expanded to include detail review of
        management forecasts.
• Quick Pick Express - Long Beach Port drayage and warehouse provider. Initially
  retained by Claritas Capital then by Comerica (senior lender) to provide further
  diligence analysis.
   - Interim CFO. During the initial diligence it was clear that this family owned
      business needed guidance through the overall purchase process. Comerica
      requested Traverse interim management to Quick Pick Express upon exit.
• The Management Trust (TMT) - Housing Association management based in Orange
  County, CA with managed properties and associations throughout the USA.
   - Retained by TMT post-deal to provide FP&A support.
• Rubicon – Disruptive technology based company based in Atlanta
   - Rubicon creates markets for refuse services through creative technology based
        bidding platform.
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TRANSACTION SUPPORT & CFO SUPORT (Capital Raise)


PROFESSIONAL EXPERIENCE
                                MORGAN KEEGAN MEZZANINE PARTNERS
                                Transaction due diligence support

                                 • Techniflex - Reseller and maintenance provider to banking industry equipment.
                                 • Al Jon - Manufacturer of scrap, auto recycling and solid waste equipment.


CHATHAM CAPITAL
Transaction due diligence support

    • City Gear – Apparel Retailer in Southeastern US
    • Bancsource – Reseller of Banking machines and maintenance services
    • Techniflex – Providers of technical support and maintenance services to the
     Banking Industry
    • Buffet Partners – Multi unit restaurant chain based in Texas
    • Visual Edge Technology - Minolta/Sharpe Distributor based in Ohio.
                                VIRGIN GALACTIC
                                SPAC Support

                                 • Virgin Galactic – provided support to CFO in preparation of initial public offering.




HYUNDAI MERCHANT MARINE
•     Forensic Accounting Support to HMM in support of the audit of HMM
          financial statements by PricewaterhouseCoppers.
•     Reassessed over 40 long-term leases in accordance with GAAP
          impacting 8 large lenders resulting in defaults and debt
          restructuring.
•     Scope included historical review of all cash transactions and financial
          reporting (classification / reclassification) on over 40 leases.
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   TRANSACTION ADVISORY SERVICES


   PROFESSIONAL EXPERIENCE
                              ASCENSION PROPERTY SERVICES

                              A portfolio company of Southworth Capital Management
                              Performed accounting due-diligence including quality of earnings analysis on
                              the following acquisitions:

                               • Liberty HVAC & Energy Services
                               • Southern Mechanical
                               • Bryant Electrical
                               • Phoenix Electrical
                               • Emory Electric
                               • Knights Mechanical
                               • TA Woods
                               • Intex Coating
                               • National Networks


FREEMONT WRIGHT

A portfolio company of Southworth Capital Management
Performed accounting due-diligence including quality of earnings analysis on
the following acquisitions:

• Hamilton Engineering                         • Madden Morehouse & Stokes
• Rim Rock Engineering                         • WGM Design
• LR Nelson Engineering                        • Callaway Architecture
• Lochsa Engineering                           • IF Rooks & Associates
• AM Engineering                               • Albion Surveys Inc.
• Triton Engineering                           • Harmsen
• Duell Engineering                            • Colbert Matz & Rosenfeld
• Harmsen Engineering                          • HBG Design & Architecture



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TRANSACTION ADVISORY SERVICES


PROFESSIONAL EXPERIENCE
                            SOUTHWORTH CAPITAL MANAGEMENT

                            Due-diligence for equity investments in the Engineering, Restaurant, Media,
                            Building Services and Third Party Logistics

                             • Five Guys - Quality of Earnings and 4 wall analysis of multi-unit regional QSR
                             • Vero Business Credit – Transportation Factor in the 3PL vertical.
                             • IF Rooks – Regional Civil Engineering Firm
                             • Hamilton Engineering – Regional Civil Engineering Firm
                             • JIT Transportation – Regional integrated 3PL in Northern, CA.
                             • South Gold – Regional 3PL in South Florida
                             • DiPinto – Regional 3PL in New Jersey.
                             • Majewski – Transportation Broker and LTL logistics provider
                             • Shiek Shoes - Apparel Retailer in Southwestern US
                             • Eastport Holdings – Conducted QE and Diligence on 23 transactions closing 18.


CAPITAL ALIGNMENT PARTNERS

Due diligence advice across a broad base of industries for this
Mezzanine Lender:

• Upstream – Disruptive technology based company in the reverse logistics industry
  with concentration in Amazon
• CNRG – Financial due diligence and working capital analysis for multi-unit chain of
  hardware stores throughout the US operating under retail brand names.
• Scoville – Quality of Earnings Analysis for this recruiting service of compliance
  officers in the regulated banking industry.
• ITS – Quality of Earnings analysis for Montgomery Alabama based provider of large
  computer and network support system and services in the Southeast US.
• Nutriquest – Quality of Earnings for Iowa based business that develops for resale
  and, or, distribution under license agreement certain feed products in the Swine
  production industry.
• Live Technologies – Based in Columbus Ohio provides customers a turn-key
  solution for principally corporate events and entertainment support.

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Albert Altro, CPA, CIRA
                                                                            RECENT ENGAGEMENTS:
                                                                            • Engaged by Private Credit investor in
MANAGING DIRECTOR, CORPORATE                                                  muti unit provider of services to perform
RESTRUCTURING & TRANSACTION SUPPORT FOR                                       business assessment and turn around
TRAVERSE LLC                                                                  plan.

                                                                            • Engaged as CFO and financial advisor to
    Email                                 Phone                               high end restaurant chain based in New
    albertaltro@traversellc.com            310.809.5064                       York City

Mr. Altro brings over 28 years of experience in corporate                   • Served as Chief Restructuring Officer for
restructuring, public accounting and executive                                a middle market retailer in its chapter 11
                                                                              proceedings and as Interim Chief
management, and consulting, primarily in a leadership role.                   Operating Officer during the transition to
His experience spans a variety of industries and                              new management team.
organizations, servicing primarily middle market privately
held corporations, as well as debtors-in-possession,                        • Engaged as CRO & CFO for a Business
secured and unsecured creditors, private equity groups, and                   Services Company with National
strategic buyers. Mr Altro has held numerous leadership                       presence in multiple industry verticals.
positions as Board Member, Officer (CFO, COO, CRO),                         • Engaged as CRO of a regional
Court Appointed Receiver, Assignee in the Assignment for                      manufacturer and supplier of industrial
the Benefit of Creditors and Examiner. Prior to forming                       water pumps to the commercial and
Traverse, Albert worked at KPMG in both the auditing group                    agricultural sectors. Assumed CFO role
and the strategic consulting practice; he also was a Director                 upon resignation of incumbent CFO.
at PricewaterhouseCoopers in the Transaction Services
Group (Los Angeles) and also worked as a corporate
                                                                            • Advised & Assisted Virgin Atlantic and
                                                                              Porch.com on their respective SPAC
restructuring advisor at Zolfo Cooper (acquired by Alix                       efforts.
Partners).
INDUSTRY EXPERTISE                EDUCATION & MILITARY
                                                                            • Engaged as Assignee to operate and
                                  EXPERIENCE                                  wind down a general contractor
• Restaurants & Retail                                                        responsible for offshore oil well
• Specialty Finance                • BS Accounting – Long Beach               decommissioning. Converted
• Healthcare                         State                                    assignment to liquidating Chapter 11 and
• Manufacturing                    • US Army Active Duty – 75th               assumed role of CRO.
• Distribution                       Infantry Ranger (Airborne)
• Business Services                • US Army Reserves – Command
• Food Processing                   Sergeant Major (Retired)                • Engages as CRO and later Receiver of a
• Energy                                                                      specialty finance company providing
• Construction                    BOARD & ASSOCIATION                         factoring of accounts receivable and
• Media & Advertising             EXPERIENCE                                  purchase order finance to the third party
• Entertainment                                                               logistics industry.
CERTIFICATIONS &                  • Turnaround Management Association
LICENSES
                                    (TMA)
                                  • Association of Insolvency and           • Engaged as CRO & CFO of a Swimwear
                                    Restructuring Advisors (AIRA)
                                                                              Company restructuring both operations
• Certified Public Accountant     • Former Board Member:                      and capital structure.
  (CPA)                                  Bumble Bee Foods
• Certified Insolvency                   Lovers Stores                      • Appointed Receiver of a provider of
  Restructuring Advisor (CIRA)           The Corporate Presence               fabricated special construction projects
                                         Aurora Modular Industries
                                                                              including bridge structures and overhead
                                                  Exhibit 1, Page 34          tubular sign structures.
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ABOUT US - EXECUTIVE ROSTER
                                                                         RECENT ENGAGEMENTS:

John Buck                                                                • Engaged as interim CFO for small
                                                                              company as fractional CFO.
CORPORATE RESTRUCTURING, TRANSACTION                                     • Led due diligence and quality of earnings
SUPPORT AND INTERIM MANAGEMENT                                                on $270 million dollar purchase for a
                                                                              strategic buyer.
   Email                                 Phone
   johnbuck@traversellc.com              267.288.8691                    • Led Due Diligence and quality of
                                                                              earnings efforts in the purchase of an
                                                                              intermodal Company in Houston fr PE
John brings over 20 years of experience in business                           back platform.
transformation, M&A, and financial leadership. His
experience spans a variety of business sectors primarily                 • Led multiple CFO reporting requirements
                                                                              as investment manager for private equity.
in middle-market privately held corporations undergoing                  .
transition due to poor leadership, lack of liquidity or
excessive debt. In his most recent engagements, he
served as interim CFO for an entrepreneur-owned
healthcare SAAS provider, led M&A for a private equity-
owned healthcare data provider, and served as Chief of
Staff to the CEO for a private equity-owned data services
company servicing the commercial construction industry.

Mr. Buck co-led the middle-market investment strategy at
DW Partners where he invested in the debt and equity of
middle-market companies and successfully deployed over
$300 million in capital. Prior to DW Partners, he was a
member of the investment teams at Versa Capital and
Cerberus Capital Management.

INDUSTRY EXPERTISE        EDUCATION
 • Restaurants & Retail   • BSE– University of Pennsylvania
 • Transportation         • MBA– Fox School of Business,
 • Business Services        Temple University, Beta Gamma
 • Specialty Finance        Sigma
 • Healthcare             • MA– Villanova University
 • SAAS                   • Adjunct Professor– Villanova
                            University

BOARDS & ASSOCIATIONS
• Turnaround Management Association (TMA)
• American Bankruptcy Institute (ABI)
• Project Magis – Founder & Board
• Paramount Building Solutions – Board Member


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                                                                             RECENT ENGAGEMENTS:
Robert Tormey, CPA, CIRA, CTP
                                                                             BH Cosmetics – Chief Financial Officer
SENIOR DIRECTOR - INTERIM MANAGEMENT &
                                                                             • Managed BH Cosmetics LLC, a portfolio
CORPORATE RESTRUCTURING                                                        company of Mid Ocean Partners, through
                                                                               Chapter 11 process including sale of Assets
   Email                                     Phone                             to European Acquiror.
   roberttormey@traversellc.com               909.214.2236c
                                                                             Bruce Elieff – Financial Advisor to Committee
                                                                             of Unsecured Creditors
Mr. Tormey brings over 30 years of knowledge and                             • Advisor to Counsel involving liquidation of
                                                                                multiple real estate assets and resolution of
experience leading, managing and consulting to a variety of
                                                                                complex claims.
organizations to the Traverse team. He is an experienced
Chief Financial Officer and Financial Advisor who has
supported numerous private equity sponsors and Lender                        Santier - Interim Chief Financial Officer.
Groups, in both Chief Financial Officer and Financial                        • Negotiated consolidation of facilities with
Advisory roles. Bob has managed both development stage                         landlord reducing facilities costs
and growth companies, supporting operational turnarounds,                      $350K/year.
financial recapitalizations, leveraged buyouts and                           • Outsourced production functions at savings
acquisitions integration efforts.                                              of $1M/year.
                                                                             • Implemented changes in benefit programs,
Prior to joining the executive roster at Traverse LLC, Bob                     vacation and sick pay policies reducing
was a partner with financial advisory firm, Tatum Partners                     costs $200K/year.
for over 10 years. In addition, he served was at Arthur                      • Established 13-week cash flow disciplines,
Andersen & Co.                                                                 working capital initiatives and annual
                                                                               budgeting disciplines.
                                                                             • Restructuring resulted in successful sale of
INDUSTRY EXPERTISE                 EDUCATION                                   Santier by Equity Sponsor – The COURTNEY
                                                                               GROUP.
• Aerospace                         • BA, English Literature, Loyola
• Manufacturing                       Marymount University
• Consumer Goods                    • MBA, Cornell University                 Financial Advisor – Vintage Capital
• Hospitality
• Travel & Leisure                                                           • Advised PCA Aerospace through $2MM
• Education                                                                     recapitalization by Equity Sponsor and
• Agriculture
• Retail Cosmetics                                                              Senior Lender

CERTIFICATIONS & LICENSES                                                    • ATS Systems – Management assessment
                                                                               of Bushing Manufacturer resulting in
• Certified Public Accountant                                                  replacement of Chief Financial Officer and
• Certified Turn Around Professional
• Certified Insolvency and Restructuring Advisor                               operating recommendations. Changes
                                                                               allowed for successful sale of Company.

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ABOUT US - EXECUTIVE ROSTER


Kieran McGarrell, ACMA, CIRA.                                                  RECENT ENGAGEMENTS:

                                                                               • CFO & Advisor - One Aviation, a Light
SENIOR DIRECTOR, TRANSACTION SERVICES AND
                                                                                 Jet Manufacturer, retained to guide
CORPORATE RESTRUCTURING                                                          management with preparation and
                                                                                 execution of operational and financial
    Email                                    Phone                               turnaround .
    kieranmcgarrell@traversellc.com          949.230.6993
                                                                               • CFO - Vero Business Capital, a transport
Kieran is a seasoned Financial Leader experienced in all
                                                                                 factoring company. Retained by buyer to
aspects of Finance and Operations. He has served in
                                                                                 conduct due diligence of Enoble Business
multiple leadership roles including Chief Financial Officer,                     Capital, once aquired was retained as
Chief Restructuring Officer and Operations Director and has
                                                                                 CFO.
over 20 years experience. He has an extensive background
in M&A, Turnaround and Corporate Restructurings, Cash
                                                                               • CRO - TS3 Technology, Aerospace
Flow and Working Capital Optimization, Risk Management,
                                                                                 manufacturer, managed sales process
Supply Chain, Inventory Management, FP&A and Strategic
                                                                                 and ultimate liquidation of business
Planning.                                                                        (multiple facilities)
Prior to joining Traverse in 2007, Kieran served for 12 years
                                                                               • CFO - D6 Apparel LA based clothing
as CFO and Vice President of Finance for various Smiths                          distributor, completed forbearance
Group plc companies. During this time, Kieran led financial
                                                                                 negotiation and ‘carve out’ of loss making
due diligence on numerous acquisitions and led operational
                                                                                 division.
turnarounds at two Aerospace Manufacturers. Championed
numerous business process -engineering, Lean
                                                                               • Court Appointed Receiver- Arizona
manufacturing, ERP implementations and FP&A
                                                                                 Structure Technologies, managed
improvements, supporting Smiths Group directive driving
                                                                                 business as going concern during sale
continual improvement.
                                                                                 process. Retained post sale as interim
                                                                                 CFO / COO.
INDUSTRY EXPERTISE                 EDUCATION
• Aerospace                         • BS, Industrial Business Systems –        • CFO - The Corporate Presence, out of-
• Business Services                   De Montfort University, Leicester,
                                                                                 court workout including the negotiation
• Consumer Products                   England
• Distribution                                                                   and restructuring of existing bank debts
• Financial Services               BOARDS &                                      and operational turnaround.
• Technology
• Process Manufacturing            ASSOCIATIONS
• Media                                                                        •    Turnaround Advisor - Goglanian
• Retail                            • Certified Insolvency and
                                      Restructuring Advisor (CIRA)                 Bakeries, a process manufacture, Led
CERTIFICATIONS &                    • Association of Insolvency and                operational restructuring, advised on
LICENSES                              Restructuring Advisors (AIRA)
                                    • Chartered Institute of Management            organic growth initiatives and due
                                      Accountants (ACMA) and (CGMA),               diligence/post-acquisition integration
• Associate, Chartered Institute      England
  of Management Accountants                                                        support.
  (CIMA), England)
                                    • Turnaround Management
                                      Association
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ABOUT US - EXECUTIVE ROSTER


Kitty Cheng, CPA, MBT                                                          RECENT ENGAGEMENTS:

                                                                               • Serving as Tax Advisor to Virgin Galactic
DIRECTOR, TAXATION                                                               in support of its public reporting
                                                                                 responsibilities.
    Email                                      Phone
    kittycheng@traversellc.com                626.381.9229                     • Providing ongoing advisory support to
                                                                                 Traverse due diligence teams in their
                                                                                 respective quality of earnings (QE)
Kitty Cheng brings over 25 years of tax consulting                               projects.
experience to Traverse LLC. She specialized in tax issues
related to mergers & acquisitions, reorganization and                          • Served as Tax Advisor for Goglanian
restructuring, as well as issues unique to debtors, creditors                    Bakeries Inc. Prepared 338(h)10 analysis
and equity holders in bankruptcy proceedings. Focusing on                        and cross border restructuring.
taxation, mergers and acquisitions, her clientele includes
both private equity firms and strategic buyers who look to
                                                                               • Engaged as Tax Advisor to The
                                                                                 Corporate Presence. Resolved
expand market presence.                                                          international and domestic tax disputes
                                                                                 arising out of the company’s out of court
Prior to joining the team at Traverse, Kitty served as Tax                       restructuring.
Director at PricewaterhouseCoopers for over twelve years
in the Mergers & Acquisition Group. She later became a
Tax Partner at Grobstein Horwath.




INDUSTRY EXPERTISE                    EDUCATION
• High tech                           • BA, Accounting – University of
• Entertainment                         Washington
• Manufacturing
• Retail                              • Masters, Business Taxation – USC
• Food processing
• Healthcare



CERTIFICATIONS & LICENSES
• Certified Public Accountant (CPA)




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ABOUT US - EXECUTIVE ROSTER


Jerry DeCiccio, CPA                                                          RECENT ENGAGEMENTS:

DIRECTOR, INTERIM MANAGEMENT & TRANSACTION                                       Interim CFO for a small business
SERVICES                                                                          services company due based in
                                                                                  Phoenix. Traverse retained by the
    Email                                          Phone                          Private equity owners to the abrupt
    jerrydeciccio@traversellc.com                                                 resignation off the incumbent CFO.

Mr. DeCiccio is an experienced finance professional with                         CFO/COO – Brand FX, implemented
more than 30 years of professional experience that includes                       new company-wide MRP system,
serving in management roles in industry and the Big 4.                            reconfigured one plant to triple the
                                                                                  manufacturing capacity and increase
Jerry’s focus at Traverse has been on interim financial
                                                                                  revenue from $75 million to $140 million,
management roles and transaction support. Jerry recently
                                                                                  found errors in Workers’ Compensation
finished a 9 month assignment assisting the finance group                         resulting in savings of over $800 million.
at Hyundai Merchant Marine of America. Jerry is currently
working on a project with Virgin Galactic on several                             CFO/COO – Intech Corp., implemented
accounting matters in support of Virgin’s public reporting                        new company-wide MRP system,
requirements.                                                                     increased revenues over 400% from $62
                                                                                  million to $250 million, increased
                                                                                  working capital over 300%, and obtained
Prior to joining Traverse, Jerry had 25 years of experience                       over $4 million in tax credits.
working in publicly traded companies including President at
Cerebain Biotech Corp. (OTCBB) pre-revenue, CFO/COO                              Over the past four years, have been
at Intech Electromechanical (NASDAQ) $250 million,                                responsible for audit readiness and
CFO/COO at GTC Telecom (AMEX) $50 million, and CFO                                preparation of initial public offering filings
at Incomnet Communications (NASDAQ) $175 million. Mr.                             (Form S-1) for eight companies, as well
                                                                                  as Form 10-Q and 10-K filings.
DeCiccio also served as CFO/COO at BrandFX, Controller
at Parker Hannifin Corp. (NYSE), Waste Management Inc.                           Responsible for the bankruptcy filings
(NYSE), Newport Corp. (NASDAQ), and Ritz Interactive                              and compliance at two companies
(prepped for and prepared S1). Acted as advisor in
establishing accounting practices for complicated accounts
payable system.
INDUSTRY EXPERTISE               EDUCATION
• Aerospace & Defense            • BS, Accounting, Loma Linda
• Business Services                 University
• Manufacturing
• Retail                         • MBA, Finance and Systems
• Healthcare                        Technology, University of Southern
• Biotech & Pharma                  California

CERTIFICATIONS & LICENSES
 • Certified Public Accountant
 • APICS
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                                                                            RECENT ENGAGEMENTS:
Timothy Walker, CPA                                                         • Restructuring Advisor and Interim
                                                                            Corporate Controller to Eclipse Aerospace
MANAGER, TRANSACTION SERVICES AND                                           (light jet aircraft manufacturer). The
CORPORATE RESTRUCTURING                                                     engagement included implementing 13 week
   Email                                                                    cash flows, financial models, day to day
   timwalker@traversellc.com                                                accounting functions, reporting and cash
                                                                            management.

Timothy Walker has over 20 years of professional                            • Interim Controller for Vero Business
experience in Controller and VP Finance roles, a significant                Capital a transportation factoring company.
portion of that experience within manufacturing                             The engagement focused on creating internal
environments to include food production, technology, glass                  financial controls, financial reporting and
and aluminum containers and polypropylene and polyester                     lender relations.
based non woven fabrics..
                                                                            • Controller/VP – TS3 a printed circuit board
During his 2+ year tenure with Traverse, Tim has provided                   and wire harness specialty manufacturer
guidance in implementing and enhancing accounting                           primarily to oil and gas, defense and utility
controls for financial services companies and aircraft                      industries. Responsible for monthly
manufacturing. His experience also includes transaction                     accounting and financial reporting to BOD
support engagements for various public and private                          and external stakeholders.
industries to include construction, logistics, engineering
services, power equipment manufacturing, and financial                      • Treasury Manager – North American
services.                                                                   operations for Fiberweb Inc., an international
                                                                            manufacturer of non-woven fabrics. In
Prior to joining the team at Traverse, Tim’s professional                   addition to cash management, reporting and
experience includes accounting and finance positions with                   bank relationships, significant role in
Molson Coors, Waste Management, Fiberweb/Berry                              budgeting and planning for the manufacturing
Plastics and Perdue Farms were he managed financial and                     operations.
accounting teams to include operational reporting and
manufacturing KPI’s.                                                        • Regional Controller/Accounting Manager
                                                                            for Perdue Farms, a privately held, vertically
INDUSTRY EXPERTISE               EDUCATION                                  integrated poultry company. Responsible for
• Logistics                       • BA, Economics – Washington              multi-plant process cost accounting overhaul,
• Manufacturing Food                University, St. Louis, MO.              KPI reporting, production variance reporting,
• Manufacturing Specialty         • MBA, University of Denver,
• Specialty Financial Services      Denver CO.                              product pricing and process improvement
• Waste Management                                                          teams.
• Manufacturing Glass            ASSOCIATIONS
• Manufacturing Aluminum
                                  • American Institute of Certified         • Sr. Analyst, Accounting Manager for
LICENSES                            Public Accountants                      Molson Coors Brewing Company with
                                  • Turnaround Management                   rotational roles at the world’s largest
• Certified Public Accountant,      Association
  State of Tennessee.                                                       aluminum can plant, Coors glass plant and
                                                   Exhibit 1, Page 40       brewery operations.
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                                                                         RECENT ENGAGEMENTS:
Alex Khansa
                                                                              Established Oaktree’s first budget in
ASSOCIATE DIRECTOR, TRANSACTION SERVICES
                                                                               2015 and lead the process for 32
AND CORPORATE RESTRUCTURING                                                    departments totaling approximately $350
                                                                               million. Partnered with business-unit
   Email                                Phone                                  leaders to align their spend and budget
   alexkhansa@traversellc.com           (562) 242-6685                         cuts with strategic growth areas.
                                                                              Oversaw a cross-departmental project to
Mr. Khansa has 14 years of experience in corporate                             analyze the allocation of indirect
finance and strategy.                                                          expenses to Oaktree’s funds and
                                                                               identified under allocations which
                                                                               resulted in over two million dollars of
Prior to joining Traverse, Mr. Khansa served as an
                                                                               recouped expenses for the management
Associate Director of Corporate Development and                                company.
Strategy at Golub Capital, a $40 billion asset
management firm with a focus on private credit. Prior                         Led a review of Oaktree’s APAC
thereto, he served for seven years at Oaktree Capital                          operations and developed breakeven
Management, most recently as a Vice President,                                 targets for fundraising and capital
focusing on financial planning and analysis, fund                              deployment which led to a restructuring
development, investor relations, mergers and                                   of resources and the closure/downsizing
acquisitions, budgeting and other strategic initiatives.                       of two offices.
                                                                              Automated Oaktree’s forecast and
Mr. Khansa worked on high-profile restructuring cases                          allocation processes by utilizing new
as a consultant with FTI Consulting. Some of his most                          system implementations, database
notable engagements include American Apparel,                                  integration and reporting architecture.
American Suzuki Motor Cop. And Morgan Stanley Real
                                                                              Co-architect a $1bn separately managed
Estate Fund’s portfolio of hospitality properties.                             account (SMA) for Golub Capital to meet
                                                                               a client’s complex regulatory
                                                                               requirements and investment strategy.
                                                                              Lead Golub Capital’s efforts to expand
                                                                               its fundraising into Europe and
INDUSTRY EXPERTISE          EDUCATION                                          determine the best strategy for
• Asset Management           • BS with Honors, Finance and                     passporting, distribution and structuring.
• Transportation                Strategy, University of Southern
• Healthcare                    California                                    Generated a complex financial forecast
• Retail                                                                       model for American Suzuki Motor Corp.
• Real Estate                                                                  in support of the CRO for the purposes
                                                                               of restructuring, valuation, DIP loan
CERTIFICATIONS & LICENSES                                                      sizing, plan feasibility, budget-versus-
                                                                               actual analysis, covenant compliance
 • Chartered Risk Analyst                                                      and thirteen-week cash flow forecast.

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Clay Harshbarger                                                         RECENT ENGAGEMENTS:

                                                                         • Peekay Boutiques, Joined the CRO on
MANAGER, CORPORATE RESTRUCTURING
                                                                         this Chapter 11 reorganization and
                                                                         developed financial planning model
   Email                                Phone                            • Retained at OnSite Fuel Service as
   clayharshbarger@traversellc.com      901-355-4807
                                                                         Controller. OnSite a portfolio company of
                                                                         Capitala and Harbert as both Equity and
Mr. Harshbarger has over 20 years experience in
                                                                         Debt capital providers.
accounting management positions. Clay’s focus at
Traverse has been on interim financial management roles
                                                                         • Developed financial planning model, 13
and financial planning and analysis.
                                                                         week cash flow and Monthly management
                                                                         reporting for Vero Business Credit. Traverse
Prior to joining Traverse in 2015, Clay served as Controller
                                                                         provided advice and interim management to
of City Gear LLC where he managed the conversion of the
                                                                         Memphis based family fund in the
accounting system to Sage. Also the conversion of the POS
                                                                         acquisition of Vero formerly known as
system to RetailPro and the integration of two acquired
                                                                         Enoble Business Credit a factoring solution
chains to City Gear systems. He also did interim financial
                                                                         for transportation companies.
management through Robert Half for an HVAC
manufacturer and a Medical device Manufacturer. He held
                                                                         • Retained by Paramount Cleaning
various accounting positions at AutoZone Inc. for 15 years
                                                                         Solutions, as Interim Controller and
most recently as Director of Merchandise accounting. While
                                                                         developed financial planning model, 13
at AutoZone Clay lead the integration of inventory                       week cash flow and Monthly management
accounting on the Auto Palace and Chief Auto parts
                                                                         reporting. Supported the Company’s
acquisitions.                                                            Chapter 11 filling and related credit bid by
                                                                         DW Partners (New York based hedge fund)

                                                                         • Hibbett Sports, Assisted the initial SOX
INDUSTRY EXPERTISE            EDUCATION
                                                                         implementation for the acquired company
• Distribution                 • BBA Accounting, University of           City Gear by the Identification of controls,
• Financial Services             Memphis
                                                                         Performing walkthroughs to test design and
• Manufacturing
• Retail                                                                 control effectiveness, and the evaluation of
• Healthcare                  SOFTWARE:                                  entity level controls.
• Business Services
                              • PeopleSoft,
                              • Great Plains,                            • Interim Controller for Modo Health care
                              • Sage,                                    a SaaS start up based in Nashville.
                              • MS Office



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       Selected Experience & Qualification
CLIENTS, PARTNERS, PROJECTS


TRAVERSE HAS SUCCESSFULLY WORKED WITH AND ADVISED
COMPANIES ACROSS A VARIETY OF INDUSTRIES




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CONTACT


To find out more about how Traverse LLC can help your                 OFFICE LOCATIONS

organization navigate through changing business                       Nashville
dynamics, please contact us directly for additional                   109 Westpark Drive Suite 310
                                                                      Brentwood, TN 37027
information about any of our services.
                                                                      Los Angeles | Orange County
                                                                      300 Spectrum Center Drive Suite 400
                                                                      Irvine, CA. 92618

                                                                      Memphis
                                                                      813 Ridge Lake Blvd Suite 400
                                                                      Memphis, TN 38120

                                                                      Dallas
                                                                      1920 McKinney Ave, Suite 700
                                                                      Dallas, TX 75201

                                                                      New York City
                                                                      28 Liberty St Suite 600
                                                                      New York, NY 10005




                                                                       Albert Altro
                                                                       P: 310.809.5064
                                                                       E: albertaltro@traversellc.com




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